                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                 CRIMINAL ACTION
VERSUS                                                                   NO. 20-055
JASON R. WILLIAMS                                                        SECTION “F”
NICOLE E. BURDETT

                                                  ORDER

         Considering and hereby incorporating the COVID-19 Gen. Order No. 20-13, issued

  by this Court on December 2, 2020, suspending all jury trials until March 1, 2021;1

         Given the Court’s reduced ability to obtain an adequate spectrum of jurors and the

  effect of the recommendations from the public health organizations on the ability of counsel

  and Court staff to be present in the courtroom, the Court finds that the time period of the

  postponements implemented by this administrative order shall be excluded under the Speedy

  Trial Act, as the Court specifically finds the ends of justice served by ordering the

  postponements outweigh the best interest of the public and any defendant’s right to a speedy

  trial, pursuant to 18 USC § 3161(h)(7)(A). Accordingly;

         IT IS ORDERED that the trial in this matter is hereby CONTINUED from

  January 11, 2021 to be reset by the Court at a later date. In accordance with the provisions of

  18 USC § 3161, this Court finds that the period of delay resulting from the granting of this

  continuance shall be excluded under the provisions of the Speedy Trial Act.




1 COVID-19,   Gen. Order No. 20-13 (E.D. La. December 2, 2020), available at
https://www.laed.uscourts.gov/sites/default/files/pdfs/EDLA_General_Order_20-
13_Continuing_Jury_Trials.pdf
 IT IS FURTHER ORDERED that the final pretrial conference set for
December 21, 2020, is hereby cancelled.



                New Orleans, Louisiana, this 18th day of December 2020.




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                              MARTIN L.C. FELDMAN
                         UNITED STATES DISTRICT JUDGE
